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                                                    HON. RONALD B. LEIGHTON




                 IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF WASHINGTON

UNITED STATES OF AMERICA,              )
                                       )     No.    CR06-5351RBL
                    Plaintiff,         )
                                       )     ORDER
        v.                             )     RE: DISCLOSURE OF
                                       )     EXCULPATORY SENTENCING
THOMAS MENDOZA-AGUILAR,                )     INFORMATION
                                       )
                    Defendant.         )

        DEFENDANT THOMAS MENDOZA-AGUILAR’s Motion For Disclosure

of Favorable Sentencing Information is GRANTED. The government

shall    disclose    a   copy    of   DEA   SA   Erin   Bruce’s     ROI   of     the

defendant’s proffer on October 24, 2006 to the defendant’s

attorney at least two weeks prior to sentencing.

        Dated this 23rd day of July 2007.



                                                  A       RONALD B. LEIGHTON
                                                 UNITED STATES DISTRICT JUDGE
